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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

 CONNECTICUT FAIR HOUSING CENTER
 et al.,
                         Plaintiffs,
            v.
                                                           No. 3:18-CV-705 (VLB)
 CORELOGIC RENTAL PROPERTY
 SOLUTIONS, LLC,
                        Defendant.

     PLAINTIFFS’ REPLY IN SUPPORT OFTHEIR MOTION FOR PARTIAL SUMMARY
                                 JUDGMENT

I.         SUMMARY JUDGMENT IS APPROPRIATE ON PLAINTIFFS’ FCRA CLAIMS

           A.    Corelogic violated 15 § U.S.C. 1681g(a)

           Corelogic acknowledges it never disclosed the contents of Mikhail

Arroyo’s consumer file to his conservator despite receiving multiple requests for

disclosure, but argues denial was justified because Carmen. Arroyo never

provided proper identification. Corelogic omits key facts and is incorrect on the

law regarding the adequacy of her documentation. Corelogic’s Rule 30(b)(6)

designee acknowledged that (a) its standard practice was to require a power of

attorney (POA) when a third-party requested a file on behalf of a consumer; (b) it

rejected Ms. Arroyo’s June 2016 written request because of the POA rule, not

because of a missing SSN, signature placement, or visibility of the seal on the

submitted conservatorship document; (c) the June rejection wasn’t escalated

above the initial supervisor who stated a POA was required. PAUF1 ¶¶ 38-40.

           While 15 U.S.C. § 1681h(a) requires “proper identification before a CRA


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discloses contents of a consumer file, the only court to construe this requirement

held that consumers provides proper identification when she supplies

information sufficient to confirm their identify—whether or not that information is

the same as what the CRA sought or requested. See Menton v. Experian Corp.,

2003 WL 941388 (No. 02 Civ. 4687(NRB) at *3 (S.D.N.Y. 2003).

      In Menton, a consumer requested a copy of his consumer file and provided

a copy of his driver’s license, and a bank statement with his name and address,

and his home telephone number. See Menton at *1. Experian declined to make the

disclosure because its policy required a SSN. Id. The Court held that Experian

violated FCRA’s disclosure requirements because there was “no reason that

Experian could not have verified Mr. Menton’s identity and provided him with his

credit report soon after receiving the various alternative forms of identification

which he did furnish.” Id. at 3.

      Consistent with Menton, CFPB rules for consumer disclosures under

Regulation V require “nationwide specialty CRAs,” such as Corelogic,2 to have

file disclosures policies that “Collect only as much personally identifiable

information as is reasonably necessary to properly identify the consumer as

required under …. 15 U.S.C. § 1681h(a)(1), and other applicable laws and

regulations, and to process the transaction(s) requested by the consumer.” 12

C.F.R. § 1022.137(a)(2)(ii) (underline added). Menton and this provision reflect that

a CRA must only obtain enough identification to avoid improperly releasing a


2
 “The term “‘nationwide specialty [CRA]’ means a [CRA] that compiles and
maintains files on consumers on a nationwide basis relating to … (2) residential
or tenant history[.]” 15 U.S.C. § 1681a(x).


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consumer’s information without demanding so much identification as to

unreasonably restrict a consumer’s access to his own personal file.

      Corelogic’s reliance on Ogbon v. Beneficial Credit Services, Inc., 2013 WL

1430467 (S.D.N.Y. 2013) to justify strict documentation requirements is inapt:

Ogbon involved a consumer who had previously reported identity theft, had

security alerts on her files, and provided cryptic and conflicting information in her

disclosure request—facts the court found justified “an abundance of caution.”

Ogbon at *9. There was no such basis for heightened scrutiny here.

      As Ms. Arroyo sought disclosure of Mikhail’s consumer information, proper

identification here included both verification of his identity and “reasonable

identification” of Ms. Arroyo. See 15 U.S.C. § 1681h(d). In June 2016 Ms. Arroyo

provided all of this, including Corelogic’s file disclosure request form, listing

Mikhail’s full name, date of birth, telephone number, current and two previous

addresses, information about Mikhail’s application to WinnResidential (“Winn”),

copies of her and his driver’s licenses, and a copy of the certificate reflecting her

appointment as Mikhail’s conservator. Thus, Corelogic had ample information to

verify that it was dealing with Ms. Arroyo, that she was seeking disclosures on

behalf of Mikhail, and that she had the authority to receive those disclosures.

Corelogic’s rejected this rejection of this request not based on any concern about

identification of either Arroyo but solely on its POA policy and its refusal to

consider the conservatorship as an alternative. PAUF ¶¶39-40. Corelogic’s claim

to have made the determination based on lack of SSN or other nitpicking is a post

hoc justification, not its true reason. Id. Even if it were the true reason, it would be




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inconsistent with the governing standard for identification. Menton at *3.

      Ms. Arroyo provided further information to Corelogic in November 2016,

including Mikhail’s SSN, a utility bill, a Connecticut Department of Social Services

letter addressed to her “for Mikhail Arroyo,” an updated conservatorship

certificate bearing her name and her co-conservator’s, Tad Stimson, and another

signed file disclosure request form (signed in Corelogic’s preferred location). All

this information, together with the June 2016 identification materials, would have

satisfied a reasonable person as to the Arroyo’s identities and Ms. Arroyo’s

authority to receive the disclosures. Indeed, Corelogic based its continued

rejection of the request in November 2016 only on its claim that the

conservatorship certificate “did not reflect a visible or impressed seal.” Corelogic

cites no authority justifying its rejection of a clear copy of the certificate, and

requirement of an original document only. Opp. at 13; PAUF ¶ 46.

      There do not appear to be any prior cases concerning the need to

reproduce embossed seals for FCRA file disclosures. Courts have repeatedly

held in other contexts that the absence of a visible seal on a copy of a document

is immaterial, so long as the original document was executed with the proper

acknowledgements. See, e.g., In re Robinson, 403 B.R. 497, 503 (Bankr. S.D. Oh.

2008) (“Inability to detect the notary public's raised seal on the image of the

mortgage available in the public records” did not affect validity of mortgage);

Schwab v. GMAC Mortgage Corp., 333 F.3d 135, 138 (3d Cir. 2003) (lack of visible

notary seal on recorded mortgage document did not affect its validity as statute

imposed “no requirement that the embossment be ‘capable of photographic




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reproduction’”); Warfield v. Bryon, 37 Fed. Appx. 651, 655 (5th Cir. 2005) (lack of

visible seal on judicial summons did not affect its validity because “[t]he [district

court] uses an embossed seal on photocopying, meaning that the absence of a

visible seal on a photocopy does not demonstrate that a seal was not on the

original.”); Oliver v. New York State Police, 2019 WL 453363 at *6 (W.D.N.Y. 2019)

(same); see also Smith v. National Credit Systems, Inc., 2015 WL 12780446 at *2

(N.D. Ga. 2015) (lack of visible embossed notary seal on court filed copy did not

preclude consideration of affidavit, if actually sworn to before authorized officer).

         There is no dispute that Ms. Arroyo’s original conservatorship certificate

had an embossed seal. Indeed, the image reveals part of the seal;3 the Court

should find the partially visible seal on the copies submitted to Corelogic

sufficient. Given that copiers, fax machines, and other technology used to

transmit file requests are likely to omit embossed seals as well, the only way to

ensure that CRAs receive copies with perfectly visible seals would be to send

them an original, or a second embossed copy at significant burden and expense.4

That is unreasonable given the authority accepting documents with seals not

visible in other situations where reliability is important. Indeed, many

identification materials consumers submit in support of disclosure requests (e.g.

drivers’ licenses, passports) similarly contain seals, watermarks, and other

indicia of authenticity that are not reliably reproducible. Denying photocopies of



3
  See Dec. of C. Arroyo, Ex. C at ARROYO000577 (June 16 copy has partially
visible seal sufficient to show that the original document had a seal, even if the
text is not readable).
4
    A party receives one copy bearing the court’s seal. Conn. Prob. R. 6.5.

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such materials would not strike the appropriate balance between protecting data

privacy and enabling consumers to access their files, and there is no reason to

impose a higher standard on conservatorship certificates.

      B.     Corelogic’s nondisclosure was willful

      Corelogic points to its multiple “escalations” of Ms. Arroyo’s file disclosure

request and consultations with multiple attorneys as evidence that Corelogic’s

failure to make the disclosures, despite multiple requests over seven months’

time, was not objectively unreasonable. The opposite is true. First, Corelogic

failed to escalate the request to anyone with authority to even consider the

conservatorship situation until November 1, 2016. PAUF ¶ 42. The June request

was rejected by then. Second, while Corelogic suggests Ms. Arroyo was not

responsive to requests for additional information, the evidence shows that she

twice filled out the required form and sent it in with documents that Corelogic

requested, and had multiple telephone conversations with Corelogic staff. FCRA

only requires a consumer to make one request for disclosures and provide

proper identification—it does not require a consumer to have an ongoing

dialogue with a CRA and repeatedly submit materials.

      Since Corelogic had proper identification, it had to make the disclosure. A

consumer reporting agency does not fulfill its duties under 15 U.S.C. § 1681g(a)

through “escalations” or legal consultations. That Corelogic had a duty to make

the disclosure, and did not, at least shows negligence. But the Court should find

willfulness as Corelogic’s decision was objectively unreasonable (see Safeco Ins.

v. Burr, 551 U.S. 47, 70 (2007)) because its file disclosure policies effectively

precluded conservators from obtaining disclosure of consumer information on


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behalf of conserved persons.

      Corelogic’s denial of having “a policy of rejecting file requests from

conservators,” is merely semantic. Corelogic’s policy requires a “notarized power

of attorney,” which conserved persons legally (and usually practically) cannot

sign, and Corelogic rejected, for months, conservatorship papers as an

alternative. PAUF ¶¶38-40. Corelogic states that in “scenarios not covered” by its

POA policy, employees are “directed to ‘reach out to a supervisor’ for further

guidance.” Opp. at 12. But no such escalation happened with the June request.

PAUF ¶¶ 39, 40, 42. And requiring conservators to rely on the vagaries of

“supervisor outreach” is hardly an objectively reasonable way of ensuring fair

and meaningful access. Moreover, there is no evidence that reaching out to

supervisors actually leads to file disclosures. PAUF ¶ 39-40. The “supervisor

outreach” exception does not rectify the (objective unreasonable) denial of

access to consumer files that Corelogic’s POA requirement imposes on

conserved persons.

      Corelogic argues that this was the first request it ever received on behalf of

a conserved person, and its failure to make that disclosure cannot have been

willful unless Corelogic had received prior complaints about the policy. Opp. at

18, 20. Inaction despite prior complaints shows willfulness because prior

complaints put the CRA on notice of the problem but is not the only way to show

notice. Ms. Arroyo’s prolonged interactions with Corelogic put it on notice of the

problem its POA requirement caused for conservators but it failed to take

corrective action over at least seven months’ time.




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II.   REASONABLE ACCOMMODATION.

      Corelogic has no written policy for reasonable accommodations, and it

treated any such requests as exceptions to be escalated to supervisors who

lacked authority to grant any accommodations that had not previously been

approved in similar circumstances. PAUF ¶ 44. It is not surprising, therefore, that

Corelogic failed to accommodate Mr. Arroyo by releasing his file to his

conservator rather than requiring a POA. Corelogic contends it would have made

this accommodation given enough time. Yet Corelogic denied Ms. Arroyo’s June

request without even considering accommodation and seven months elapsed

from Ms. Arroyo’s first request until she gave up communicating with Corelogic.

Corelogic had ample time to make the requested accommodation.5

      Finally, Corelogic contends the accommodation was not necessary to

enable Mr. Arroyo to have equal opportunity to use or enjoy a dwelling unit

because there is no proof that the Arroyos’ landlord would have reversed the

denial any sooner had the file disclosure been made. However, the Fair Housing

Act (FHA) does not require plaintiffs to prove that an accommodation would have

certainly enabled them to obtain housing. Rather an accommodation is required if

it may be necessary to afford equal opportunity to obtain housing. Here, Ms.

Arroyo sought the file disclosure to use in making a request that Winn reconsider

the denial of Mr. Arroyo’s application. In order for him to have “equal


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  Corelogic’s argument that the accommodation was not reasonable, because it
would have required Corelogic to disclose Mr. Arroyo’s file to Ms. Arroyo without
a conservatorship certificate with a visible embossed seal must be rejected for
the same reasons as discussed above at 4-5.



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opportunity” to persuade Winn to lease to him, he was entitled to have the same

information a non-disabled person would have to make his case – his file.6 The

accommodation was necessary for Mr. Arroyo to have equal opportunity even if it

could not guarantee a successful outcome (although here it ultimately did).

III.   DISPARATE IMPACT OF THE FILE DISCLOSURE POLICY

       Corelogic misapprehends the nature of Plaintiffs’ disparate impact claim

about its POA policy. Corelogic’s requirement that a person seeking consumer

disclosures on behalf of a third-party present a POA denies access to consumer

files to every conserved person. This is a disparate impact because the policy is

neutral on its face, yet affects every conserved person, but few non-conserved

people. The policy is not necessary to protect consumer privacy because there is

an obvious less-discriminatory alternative: treat a court-ordered conservatorship

as equivalent to a POA file disclosure. Therefore, the discriminatory effect of the

policy is not justifiable and it violates the FHA. See Mhany Mngmt, Inc. v. County

of Nassau, 819 F.3d 581, 617 (2d Cir. 2016); Motion at 19-23.

       Corelogic argues that disparate impact must be shown through statistics,

and that the relevant statistical proof here would be that of “disabled individuals

who made a file disclosure request.” Opp. at 25. However, Corelogic admits it

does nothing to track third party disclosure requests, and thus cannot even

answer how many it has handled from conservators. PAUF ¶ 45. In the absence of




6
  Corelogic’s argument that Winn had the full file (Opp. at 22) is incorrect,
Response to Defendant’s Statement of Additional Facts ¶¶ 34, 41, and moreover
irrelevant: without the Arroyos having the file, they could not formulate their
argument.


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data about actual applicants for files, general population statistics may be used.

See Hazelwood Sch. Dist. v. United States, 433 U.S. 299, 308-309 n.13 (1977)

(finding data which demonstrates the pool of eligible candidates is appropriate to

consider where reliable applicant flow data was not available). Plaintiffs have

presented such general population statistics by their unrebutted expert report.7

      Moreover, while statistical evidence is routine in disparate impact cases, it

is not absolutely required. As here, where the challenged policy adversely affects

literally every member of the relevant protected class, deeper statistical analysis

is superfluous. In disability discrimination cases, non-statistical evidence has

been accepted to demonstrate adverse impact. Cripe v. City of San Jose, 261 F.3d

877, 889-90 (9th Cir. 2001) (requirement that an officer must have performed

patrol service the preceding year meant all officers on modified-duty status

(disabled officers)categorically ineligible for specialized assignments had

disparate impact); Allmond v. Akal Sec., Inc., 558 F.3d 1312, 1317 (11th Cir. 2009)

(court made no reference to statistical evidence, but began analysis in disability

disparate impact case by reviewing the qualification standard for business

necessity). Disparate impact liability applies where a discriminatory policy

“actually or predictably results in a disparate impact on a [protected] group…” 24

C.F.R. § 100.500(a). The fact that the POA rule effectively precludes any



7
 Corelogic argues that Plaintiffs’ expert Nancy Alisberg’s evidence should be
disregarded because her report was signed, but not sworn. That defect has been
remedied with submission of a sworn copy as Exhibit 2 here. (Notably, Corelogic
relies upon a “declaration” from Naeem Kayani which does not include any
signature.)



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conservator from obtaining a conserved person’s consumer file means the POA

policy predictably results in a disparate impact; actual statistics are not required.8

IV.   CUTPA CLAIMS

      The Court should reject Corelogic’s renewed assertion that consumer file

disclosures are outside the scope of trade or commerce. The tenant-screening

services Corelogic markets to landlords in Connecticut certainly occur in trade or

commerce, and the duty to make consumer file disclosures is part of that activity,

regardless of the fact that there is no fee charged to the consumer for the

disclosure. The Court should also reject Corelogic’s assertion that its failure to

disclose Mr. Arroyo’s file to Ms. Arroyo did not cause an injury. Even apart from

the downstream impacts the lack of disclosure had on Mr. Arroyo’s access to

housing, a consumer reporting agency inflicts an information injury sufficient on

its own to confer standing under consumer protection statutes similar to CUTPA

merely by denying a consumer access to a FCRA-covered file. See, e.g., Handlin

v. On-Site Manager, Inc., 187 Wn.App 841, 849–51; 351 P.3d 226 (2015)

(withholding screening report used to deny rental housing is cognizable injury).9

V.    INJUNCTIVE RELIEF

      Corelogic’s POA requirement unlawfully denies conservators access to the

consumer files of conserved persons and should be enjoined. Corelogic provides




8
  Moreover, since conservators might be deterred from making requests for
consumer disclosures when they are informed of the power-of-attorney
requirement, the predictable effect may be a better measure than the actual effect.
9
  Finally, for the same reasons as discussed above at 4-5, the Court should reject
Corelogic’s assertion that the condition of the seal on the conservatorship
certificate makes denial of the file a practice that is not unfair or oppressive.


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services in connection with housing and should be required to adopt policies and

procedures to ensure that rental applicants who need reasonable

accommodations to access their file disclosures can have those requests

considered and responded to in a reasonably prompt and appropriate fashion.

Plaintiffs approve of any steps toward rectifying these policies Corelogic has

taken—yet voluntary compliance does not moot their claims, and injunctive relief

remains important to ensure Corelogic does not return to the problematic

practices once the litigation has concluded. See Friends of the Earth, Inc. v.

Laidlaw Env. Svcs., 528 U.S. 167, 189 (2000).

       The Connecticut Fair Housing Center’s ongoing interest that Corelogic’s

file disclosure practices do not unlawfully disadvantage people with disabilities

confers standing. And so long as Corelogic maintains criminal records and other

consumer information about Mikhail Arroyo, the possibility remains that Ms.

Arroyo may encounter some future need to request disclosure of his file.

VI.    CONCLUSION

       For all of the foregoing reasons, and those set forth in the opening motion,

the Court should enter judgment in favor of the Plaintiffs as to liability on counts

II, III, IV, V, and VI of their complaint.




 Dated: October 18, 2019                      Respectfully submitted,


                                              /s/ Christine E. Webber
                                              Greg Kirschner
                                              Salmun Kazerounian
                                              Sarah White


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                             CERTIFICATE OF SERVICE

       I hereby certify that on October 18, 2019, a copy of foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing.
Notice of this filing will be sent by email to all parties by operation of the Court’s
electronic filing system as indicated on the Notice of Electronic Filing. Parties
may access this filing through the Court’s CM/ECF system.


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